Case 2:04-cr-20492-SH|\/| Document 24 Filed 06/01/05 Page 1 of 2 Page|D 35

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

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W.£). oh "`T'

UNITED STATES OF AMERICA,
Plaintiff,
CR. NO. 04-20492-1\/[3.

VS.

DAVID M. TATE,

--._r~.__,-._,-._.»~.._/~_,,~_._,v~_.,

Defendant.

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for a report date on April 21, 2005.
Defense counsel requested a continuance of the present trial date
in order to allow for additional preparation in the case.

The Court granted the request and continued the trial to the
rotation docket beginning July 5, 2005 at 9:30 a.m., with a report
date of Thursday, June 23, 2005 at l0:00 a.m.

The period from April 2l, 2005 through July 15, 2005 is
excludable under 18 U.S.C. § 3l6l(h}(8)(B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

wl

IT Is so 0RDERED this day of May, 2005.

 

SAMUEL H. MAYS, JR.
UNI'I'ED STATES DIS'I'RICT JUDGE

This doctment entered on me docket sheet in compliance
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.MEMNNS

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 24 in
case 2:04-CR-20492 Was distributed by faX, mail, or direct printing on
June 8, 2005 to the parties listed.

 

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Honorable Samuel Mays
US DISTRICT COURT

